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       1                     UNITED STATES BANKRUPTCY COURT
       2                     EASTERN DISTRICT OF CALIFORNIA
       3
       4   In re:                          )
                                           )
       5   VISHAAL VIRK,                   )   Case No.   14-25512-C-13
                                           )
       6                       Debtor.     )
           ________________________________)
       7                                   )
           VISHAAL VIRK,                   )   Adversary No. 21-02078-C
       8                                   )
                               Plaintiff, )
       9   v.                              )
                                           )
      10   RONNY DHALIWAL and SUNITA       )
           DHALIWAL,                       )
      11                                   )
                               Defendants. )
      12   ________________________________)
      13               MEMORANDUM OF RESOLUTION AGREED BY PARTIES
      14         The parties agreed on the record in open court on
      15   January 12, 2022, to terminate this adversary proceeding based on
      16   the following agreed facts.
      17         Ronny Dhaliwal and Sunita Dhaliwal obtained a money judgment
      18   against Skymart and Vishaal Virk in the amount of $285,000.00
      19   that was entered on May 14, 2013 in the Superior Court of
      20   California, County of Sacramento, in Case No. 34-2011-00103167.
      21         An Abstract of Judgment was recorded on October 30, 2013 in
      22   Sacramento County, which had the effect of creating a judicial
      23   lien on Vishaal Virk’s residence at 9646 Rivage Way, Elk Grove,
      24   CA 95624.
      25         Vishaal Virk filed on May 24, 2014, Chapter 13 Case
      26   No. 2014-25512, in the United States Bankruptcy Court for the
      27   Eastern District of California.
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       1         The Dhaliwals filed a proof of claim in Virk’s Chapter 13
       2   case on October 14, 2014, based on the $285,000.00 judgment, the
       3   accrued total of which was claimed to have risen to $344,568.66
       4   with judgment interest and costs.
       5         During the course of the Chapter 13 case, it was determined
       6   that the secured amount of the Dhaliwal judgment lien against
       7   9646 Rivage Way was $22,311.00. The Chapter 13 Trustee paid the
       8   Dhaliwals $22,311.00 pursuant to the terms of Virk’s confirmed
       9   Chapter 13 plan.
      10         The unpaid balance of the judgment debt was determined to be
      11   an unsecured claim subject to discharge upon completion of the
      12   plan.
      13         The Chapter 13 plan was completed. To the extent claims were
      14   secured, they were paid in full. Virk received a discharge of all
      15   unsecured debts on November 16, 2020. Hence, Virk has no
      16   continuing liability to the Dhaliwals.
      17         Virk complains that the Dhaliwals have not executed a
      18   release of their recorded judgment lien, which is impeding his
      19   ability to sell 9646 Rivage Way, and seeks imposition of
      20   penalties and damages on six counts alleged in the complaint.
      21         The parties agreed that the judgment debt in Case No. 34-
      22   2011-00103167 has been fully paid and that the lien based on the
      23   Abstract of Judgment should be deemed to have been fully paid and
      24   that the judgment lien may be avoided.
      25         It was further agreed that this court could immediately
      26   exercise its authority under Federal Rule of Civil Procedure 70,
      27   as incorporated and expanded by Federal Rule of Bankruptcy
      28   Procedure 7070, to order and adjudge that the Dhaliwal judgment

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       1   lien be released and extinguished as having been fully paid. And,
       2   the plaintiff agreed that upon entry of such a judgment, all
       3   other causes of action could be dismissed.
       4         A judgment deeming the Dhaliwal Abstract of Judgment in Case
       5   No. 34-2011-00103167 to be released and extinguished as having
       6   been fully paid shall be entered.
       7
       8          January 14, 2022

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       1                    INSTRUCTIONS TO CLERK OF COURT
                                     SERVICE LIST
       2
                The Clerk of Court is instructed to send the attached
       3   document, via the BNC, to the following parties:
       4   Vishaal Virk
           9646 Rivage Way
       5   Elk Grove, CA 95624-4443
       6   Peter G. Macaluso
           7230 South Land Park Drive #127
       7   Sacramento, CA 95831
       8   Ronny Dhaliwal
           2622 Lunar Lane, Apt. #3
       9   Sacramento, CA 95864
      10   Sunita Dhaliwal
           2622 Lunar Lane, Apt. #3
      11   Sacramento, CA 95864
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